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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )        No. 13 CR 617-2
                v.                           )
                                             )        Judge Thomas M. Durkin
MARVIN BAUSLEY                               )

                                FINAL ORDER OF FORFEITURE

       This cause comes before the Court on motion of the United States for entry of a final

order of forfeiture as to specific property pursuant to the provisions of Title 21, United States

Code, Section 853, Title 18, United States Code, Section 982, and Fed. R. Crim. P. 32.2, and the

Court being fully informed hereby finds as follows:

       (a)      On September 25, 2013, an indictment was returned charging defendant MARVIN

BAUSLEY with violations of the Controlled Substances Act pursuant to the provisions of 21

U.S.C. ' 846, among other violations;

        (b)     The indictment sought forfeiture to the United States of certain property pursuant

to the provisions of 21 U.S.C. ' 853(a)(1) and (2) and 18 U.S.C. § 982(a)(1);

        (c)     On September 23, 2014, pursuant to Fed. R. Crim. P. 11, defendant MARVIN

BAUSLEY entered a guilty plea to Counts One, Nine and Ten of the indictment charging him

with violations of 21 U.S.C. ' 846, 18 U.S.C. ' 922(g) and 18 U.S.C. ' 1957;

        (d)     In the plea agreement entered between the defendant and the United States,

defendant MARVIN BAUSLEY agreed that the following property is subject to forfeiture

pursuant to the provisions of 21 U.S.C. § 853 and 18 U.S.C. § 982. The property subject to

forfeiture includes but is not limited to:

                1.      the real property commonly known as 9247 S. Indiana, Chicago, Illinois
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and legally described as:

       LOT 77 IN RICHARD G. COLEMAN AND COMPANY’S RESUBDIVISION OF
       PART OF BLOCKS 3, 8 AND 10 IN FAIRMOUNT AND THE EAST ½ OF THE
       SOUTHWEST ¼ AND THE NORTHWEST ¼ OF THE SOUTHEAST ¼ SOUTH OF
       CHICAGO ROCK ISLAND AND PACIFIC RAILROAD IN SECTION 3, TOWNSHIP
       37 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
       COUNTY, ILLINOIS.

       Permanent Real Estate Index Number: 25-03-310-015; and

               2.      the real property commonly known as 14749 S. Clifton Park Ave.,

Midlothian, Illinois and legally described as:

       LOT 22 (EXCEPT THE NORTH 11 FEET THEREOF) AND ALL OF LOT 23, IN
       BLOCK 1, TOGETHER WITH THE WEST ½ OF THE VACATED ALLEY LYING
       EAST AND ADJOINING IN MARKHAM MIDLOATHINAN ADDITION, BEING A
       SUBDIVISION OF PART OF THE NORTHWEST 1/4 (EXCEPT THE WEST 5 ACRES
       OF THE NORTH ½ THEREOF) OF THE SOUTHEAST ¼ AND THE WEST ½ OF
       THE SOUTHWEST ¼ OF THE SOUTHEST ¼ OF SECTION 11, TOWNSHIP 36
       NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK
       COUNTY, ILLINOIS.

       Permanent Real Estate Index Number: 28-11-401-046.

       (e)     On October 22, 2015, this Court entered a preliminary order of forfeiture

forfeiting any interest defendant MARVIN BAUSLEY had in the foregoing properties for

disposition according to law;

       (f)     Pursuant to the provisions of 21 U.S.C. ' 853(n)(1), beginning on November 6,

2015 and continuing for at least 30 consecutive days, notice of the criminal forfeiture for the

foregoing real properties was posted on an official government internet site;

       (g)     The preliminary order of forfeiture was served pursuant to the district court=s ECF

system as to ECF filers. Additionally, Cook County Treasurer’s Office, Newline Financial, LLC,

Mtag as Cust for Caz Creek Illinois, LLC and Asa Patterson were served with a copy of the

preliminary order of forfeiture and the notice of forfeiture.    Pursuant to the provisions of 21

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U.S.C. ' 853(n)(1), no other parties are known to have an interest in the foregoing properties and

accordingly, no other parties were served with a copy of the notice of forfeiture and the

preliminary order of forfeiture.

       Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:

       1.      That, pursuant to the provisions of 21 U.S.C. ' 853, 18 U.S.C. § 982, and Fed. R.

Crim. P. 32.2, all right, title, and interest of defendant MARVIN BAUSLEY and any third party

in the following real properties is hereby forfeit to the United States of America for disposition

according to law;

               (a)     the real property commonly known as 9247 S. Indiana, Chicago, Illinois

and legally described as:

       LOT 77 IN RICHARD G. COLEMAN AND COMPANY’S RESUBDIVISION OF
       PART OF BLOCKS 3, 8 AND 10 IN FAIRMOUNT AND THE EAST ½ OF THE
       SOUTHWEST ¼ AND THE NORTHWEST ¼ OF THE SOUTHEAST ¼ SOUTH OF
       CHICAGO ROCK ISLAND AND PACIFIC RAILROAD IN SECTION 3, TOWNSHIP
       37 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
       COUNTY, ILLINOIS.

       Permanent Real Estate Index Number: 25-03-310-015; and

               (b)     the real property commonly known as 14749 S. Clifton Park Ave.,

Midlothian, Illinois and legally described as:

       LOT 22 (EXCEPT THE NORTH 11 FEET THEREOF) AND ALL OF LOT 23, IN
       BLOCK 1, TOGETHER WITH THE WEST ½ OF THE VACATED ALLEY LYING
       EAST AND ADJOINING IN MARKHAM MIDLOATHINAN ADDITION, BEING A
       SUBDIVISION OF PART OF THE NORTHWEST 1/4 (EXCEPT THE WEST 5 ACRES
       OF THE NORTH ½ THEREOF) OF THE SOUTHEAST ¼ AND THE WEST ½ OF
       THE SOUTHWEST ¼ OF THE SOUTHEST ¼ OF SECTION 11, TOWNSHIP 36
       NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK
       COUNTY, ILLINOIS.

       Permanent Real Estate Index Number: 28-11-401-046;



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       2.      That, pursuant to the provisions of 21 U.S.C. ' 853(n)(7), following entry of this

order, the United States shall have clear title to the foregoing properties and shall dispose of the

properties according to law;

       3.      The Internal Revenue Service may incur certain costs and shall be permitted to

deduct from the proceeds of the sale any reasonable and necessary costs incurred to effectuate the

sale and costs incurred to maintain the properties, if any, pending sale;

       4.      The net proceeds remaining shall be forfeited to the United States and disposed of

according to law; and

       5.      This Court shall retain jurisdiction in this matter to take additional action and enter

further orders as necessary to implement and enforce this forfeiture order.




                                                      _______________________________
                                                      THOMAS M. DURKIN
                                                      United States District Judge
DATED:___________________




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